Case 1:20-cr-00361-ELH Document 33 Filed 02/24/21 Page 1 of 2
Case 1:20-cr-00361-ELH Document 32-1 Filed 02/24/21 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *
*
v. *
* CRIMINAL NO. ELH-20-0361

JAMES IAN PICCIRILLI and *
KELLIE NICOLE WARFIELD, *
*
Defendants. *
*

KKRKRKEEK

ORDER

The Court finds, upon the Government’s Consent Motion to Exclude Time Under the
Speedy Trial Act, that under 18 U.S.C. § 3161(h), the interests of justice will be served by
continuing the trial date beyond the speedy trial date and that the ends of justice served by sucha
delay in the trial of this case outweigh the interests of the public and the Defendants in a speedy
trial, in that:

a. The failure to grant this request in this proceeding would be likely to result ina
miscarriage of justice;

b. The requested exclusion of time would account for the period that COVID-19 is
anticipated to either delay trial or impair defense counsel’s communications with the Defendants,
which may affect the parties’ ability to reach an agreement, it would account for the fact that
criminal jury trials were suspended in the District of Maryland between March 2020 and
August 2020, then again, effectively, between November 2020 and February 2021 due to the
COVID-19 pandemic; it would allow the parties sufficient time to engage in discussions regarding
a disposition or prepare for trial; and

C. The failure to set trial beyond the speedy trial date in this proceeding would deny
Case 1:20-cr-00361-ELH Document 33 Filed 02/24/21 Page 2 of 2
Case 1:20-cr-00361-ELH Document 32-1 Filed 02/24/21 Page 2 of 2

counsel for the Defendants and the attorneys for the Government the reasonable time necessary
for effective preparation, taking into account the exercise of due diligence.

THEREFORE, it is hereby ORDERED, this DY oy of poly , 2021,
that:

1. The Government’s Consent Motion is GRANTED; and

2. The period from January 31, 2021, to April 12, 2021, shall be excluded from

calculation under the Speedy Trial Act.

Aton 4 -touo—

ELLEN L. HOLLANDER
UNITED STATES DISTRICT JUDGE

 
